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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                CASE NO. 22-61477-CIV-SINGHAL/VALLE

  DEVIN GRANDIS, an individual, et al.,

                  Plaintiffs,

  v.

  BGIS GLOBAL INTEGRATED SOLUTIONS
  US LLC, a Washington limited liability
  company, et al.,

              Defendants.
  _____________________________________/

                     PLAINTIFF’S MOTION TO SUBSTITUTE COUNSEL

           The sole remaining plaintiff, Devin Grandis, moves for the entry of order that permits Paul

   Aiello and Michael Bennett of the law firm, Bennett Aiello, to substitute in place of David H.

   Haft, Esq. and Kenneth J. Joyce, Esq. of the law firm, Lewis Brisbois Bisgaard & Smith LLP, as

   counsel for Mr. Grandis. Attached hereto is a proposed order that grants this motion to substitute

   counsel.

                                        Respectfully submitted,

  BENNETT AIELLO                                    LEWIS BRISBOIS BISGAARD & SMITH LLP

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  By:       /s/ Paul Aiello                             By:      /s/ Kenneth J. Joyce
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                                   CERTIFICATE OF CONFERENCE

           I hereby certify that, pursuant to S.D. Fla. L.R. 7.1, on August 9, 2023, I conferred with
  Michael Pascoe, Esq., one of the attorneys of record for the only remaining defendant in this case,
  BGIS Global Integrated Solutions US, LLC, regarding this motion to substitute counsel for the
  plaintiff. Mr. Pascoe informed me that he would not oppose the motion, provided I would agree
  on behalf of the plaintiff that the “current schedule” of the case would not be altered, a condition
  that I rejected on behalf of the plaintiff.

                                                                      /s/ Paul Aiello
                                                               Paul Aiello



                                      CERTIFICATE OF SERVICE

          I hereby certify that on the 9th day of August, 2023 a true and correct copy of the original
  of this document was submitted through CM/ECF for filing and service upon the attorneys of
  record in this action.

                                                                      /s/      Paul Aiello
                                                               Paul Aiello




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